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   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17
                                                 REPLY BRIEF IN SUPPORT OF
   18   THIS DOCUMENT RELATES TO ALL             PLAINTIFFS’ MOTION FOR
        ACTIONS                                  CLASS CERTIFICATION
   19
                                                 JUDGE: Hon. Philip S. Gutierrez
   20                                            DATE: January 27, 2023
                                                 TIME: 1:30 p.m.
   21                                            COURTROOM:
                                                  First Street Courthouse
   22                                              350 West 1st Street
                                                   Courtroom 6A
   23                                              Los Angeles, CA 90012
   24

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              REDACTED VERSION OF DOCUMENT PROPOSED TO BE
   27                       FILED UNDER SEAL
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    1                                     INTRODUCTION
    2           The Ninth Circuit held that Plaintiffs’ complaint stated a valid claim that the
    3   restraints at issue violated the antitrust laws and injured Sunday Ticket subscribers
    4   by subjecting them to supracompetitive prices. In re NFL Sunday Ticket Antitrust
    5   Litig., 933 F.3d 1136 (9th Cir. 2019), cert denied sub nom. NFL v. Ninth Inning,
    6   Inc., 141 S. Ct 56 (2020). The claim set forth in Plaintiffs’ complaint sets the legal
    7   framework for assessing whether the classes of Sunday Ticket subscribers should
    8   be certified by the Court. Yet the NFL’s 1 opposition never mentions the Ninth
    9   Circuit’s opinion, nor do its experts. As articulated in that opinion, Plaintiffs assert
   10   that a set of interrelated agreements among the NFL Clubs, the League, the
   11   broadcast networks, and DirecTV work together to reduce the output of NFL game
   12   telecasts. Id. at 1155. The purpose and effect of these agreements is to limit the
   13   output of telecasts of out-of-market games to one exclusive provider (DirecTV) and
   14   to charge supracompetitive prices for these games. Id. at 1157-58. Every subscriber
   15   that purchased Sunday Ticket was injured by paying that overcharge. Id. at 1158.
   16           This case readily meets the criteria for class certification. It is a more
   17   straightforward candidate than many antitrust class motions. Unlike cases involving
   18   disparate products sold through various channels of distribution by multiple
   19   defendants, Plaintiffs allege they were overcharged for one product that was sold by
   20   one supplier pursuant to uniform price schedules. Whether the restraints on
   21   competition imposed by the agreements violate the antitrust laws is indisputably a
   22   common question, turning entirely on Defendants’ conduct. Common proof will
   23   also show that every class member was overcharged for Sunday Ticket. The
   24   connection between the output restraints and supracompetitive pricing is supported
   25   by economic theory, common sense, and abundant common evidence, including the
   26   testimony of Plaintiffs’ experts that the restraints had a classwide effect that can be
   27   quantified by methodologies that apply equally to all class members.
   28   1
            Throughout this brief, Plaintiffs use “NFL” to refer to the NFL Defendants.
                                                   1
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    1         Instead of engaging with Plaintiffs’ case, the NFL attacks a case that
    2   Plaintiffs didn’t bring. The NFL criticizes Plaintiffs for suing only on behalf of
    3   Sunday Ticket subscribers, based on the fact that NFL telecasts are also available to
    4   persons who do not subscribe to that package. According to the NFL, if other
    5   telecasts were considered, such as the in-market games on broadcast television,
    6   individual issues would predominate. The assertion that individualized factors make
    7   certification impossible is a common defense tactic, but “[i]f the Court finds the
    8   experts credible and their methods reliable, and that the proposed experts’ models
    9   account for variation in the class…” it should be certified. Andrews v. Plains All
   10   Am. Pipeline, L.P., 2017 WL 10543402, at *5 (C.D. Cal. Feb. 28, 2017).
   11         The NFL’s arguments about the inadmissibility of Plaintiffs’ expert models
   12   cite only to classwide, routine disputes between opposing experts, including
   13   criticisms that are fully addressed in Plaintiffs’ rebuttal reports. See generally
   14   Butler Reply Decl.; Zona Reply Decl.; Rascher Reply Decl. The NFL also misstates
   15   the law in arguing that the injury is somehow eliminated by alleged offsets in the
   16   but-for world. It also misstates the facts. The NFL insists that the restraints are
   17   justified because they make over-the-air broadcasts possible. The contention that
   18   such broadcasts would disappear in a competitive market defies both common sense
   19   and the evidence in this case. More importantly, it is irrelevant at this stage because
   20   it is a classwide merits issue.
   21                                      ARGUMENT
   22   I.    Plaintiffs’ Class Definition Accords with Their Theory of Liability.
   23         The proposed classes track Plaintiffs’ allegations, validated by the Ninth
   24   Circuit, that the NFL’s antitrust violations harmed Sunday Ticket subscribers. In re
   25   NFL Sunday Ticket, 933 F.3d at 1155. 2 Plaintiffs have not “gerrymandered” the
   26

   27   2
          The class definition properly excludes DirecTV subscribers who accepted a free
   28
        season of Sunday Ticket but declined to ever purchase it. Those subscribers
        suffered no injury and are not necessarily consumers of out-of-market games.
                                                  2
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    1   classes by not including all viewers of NFL game telecasts. See Opp. at 1, 10.
    2   Contrary to the NFL’s arguments, Plaintiffs have the right to define the theories and
    3   class they seek to certify. In re Conseco Life Ins. Co. LifeTrend Ins. Sales & Mktg.
    4   Litig., 270 F.R.D. 521, 532 (N.D. Cal. 2010) (“Plaintiffs are permitted to press a
    5   theory of . . . liability that affords them the best chance of certification and of
    6   success on behalf of the class.”). Further, an antitrust class need not include all
    7   purchasers of the product in question to be certified. See, e.g., In re Google Play
    8   Store Antitrust Litig., 2022 WL 17252587, at *3 (N.D. Cal. Nov. 28, 2022)
    9   (certifying class comprising only 17 states). It is true that Plaintiffs will eventually
   10   bear the burden of proving “that the challenged restraint has a substantial
   11   anticompetitive effect that harms consumers in the relevant market.” Opp. at 10
   12   (quoting Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018)). But that merits
   13   element only requires proof of harm to the members of the class. At the class
   14   certification stage, Plaintiffs need only prove that they can demonstrate injury to
   15   “the class as a whole” through common evidence. Olean Wholesale Grocery Coop.,
   16   Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 661, 675 (9th Cir. 2022), cert. denied
   17   sub nom. Starkist Co. v. Olean Wholesale Grocery, 2022 WL 16909174 (U.S. Nov.
   18   14, 2022). Plaintiffs have met that burden by demonstrating that common evidence
   19   is available to show that all subscribers were overcharged for Sunday Ticket.
   20         The NFL’s main rejoinder—that consumers of NFL telecasts, i.e., those who
   21   never subscribed to Sunday Ticket, will be “worse off” if the challenged restraints
   22   were abandoned—is irrelevant to class certification. Whether the anticompetitive
   23   impact on the class is justified by a procompetitive effect on other viewers is a
   24   merits question. Even if the NFL could show that some procompetitive effect
   25   outweighs the harm in a way that makes its restraints legal under the rule of reason,
   26   which Plaintiffs vigorously dispute, that showing would apply classwide. It would
   27   therefore support, not undermine, class certification. This Court may address merits
   28   questions only when they are “necessary to determine the propriety of

                                                   3
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    1   certification.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466
    2   (2013) (cleaned up).3
    3          Nor is the NFL’s purported procompetitive justification supported by the
    4   facts. The NFL claims that local games are available on broadcast television only
    5   because of the exclusivity of CBS and Fox’s rights. See Opp. at 1, 3, 11. But that is
    6   a classwide merits question. The NFL also miscites the evidence, incorrectly
    7   claiming that two network executives gave testimony supporting the NFL’s no-free-
    8   broadcasts-without-exclusivity theory.
    9

   10

   11                                                                                    The
   12   notion that a broadcaster would give up its most popular content from its most
   13   viewed channels just because of increased competition defies common sense.
   14         There is no evidence, and certainly no individualized evidence, that
   15   disrupting the exclusivity of the NFL’s broadcasting deals would harm “hundreds
   16   of millions” of consumers who enjoy telecasts “for free 6,” Opp. at 11.
   17

   18   3
          The NFL fails to provide context for its statement that the Court should consider
   19   the “interests of the public at large,” Opp. at 12. A court should adopt the public
        interests “at large” only in determining whether a class action is the superior
   20
        method of adjudication, Kamm v. Cal. City Dev. Co., 509 F.2d 205, 212 (9th Cir.
   21   1975), not whether defendants’ conduct somehow benefited non-class members.
        The Kamm court affirmed denial of class certification because the proposed action
   22
        was duplicative of ongoing state litigation. Id. No such concerns are present here.
   23   4
          See Kilaru Decl. Ex 15, 16.
        5
   24

   25   6
         The NFL also fails to support its claim that consumers obtain these broadcasts for
        “free.”
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    1                                                                                While the
    2   NFL’s experts challenge the reasoning underlying that prediction, none contradict
    3   it. The record does not support the argument that removal of those restraints would
    4   harm non-class members in the relevant market, let alone the vast majority of them.
        II.   Common Issues of Antitrust Damages and Injury Predominate
    5
              Plaintiffs’ experts provide three separate models to demonstrate the
    6
        availability of common evidence to 1) prove a classwide overcharge for Sunday
    7
        Ticket due to the NFL’s restrictive agreements and 2) calculate the amount of that
    8
        overcharge. None of the NFL’s criticisms of the models establishes otherwise.
    9
              A.     Plaintiffs’ Models of the Three But-For Worlds Are Reliable
   10
              On this motion, 8 the question before the Court is whether Plaintiffs’ models
   11
        are “capable of answering a common question for the entire class in one stroke, and
   12
        could reasonably sustain a jury verdict in favor of the plaintiffs.” Olean, 31 F.4th at
   13
        667 (citing Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 422, 459-60 (2016)). “[A]
   14
        district court cannot decline certification merely because it considers plaintiffs’
   15
        evidence relating to the common question to be unpersuasive and unlikely to
   16
        succeed in carrying the plaintiffs’ burden of proof on that issue.” Id. at 467. In other
   17
        words, Plaintiffs need only provide a proof of concept of a classwide model.
   18
              The NFL’s arguments to exclude Plaintiffs’ three models distort this legal
   19
        standard. For example, none of the NFL’s cited authority held that a “quantitative”
   20
        model “is required for certification,” Opp. at 13. In re Rail Freight Fuel Surcharge
   21
        Antitrust Litig., 725 F.3d 244 (D.C. Cir. 2013) (Rail Freight I), stated only that the
   22
        challenged models were “essential to the plaintiffs’ claim they can offer common
   23
        evidence of classwide injury” in that particular case. Id. at 254. The same is true of
   24
        Ward v. Apple Inc., 2018 WL 934544 (N.D. Cal. Feb. 16, 2018), which rejected an
   25
        11-page expert declaration that referred only to methodologies employed in a
   26

   27   7


   28
        8
          Plaintiffs address challenges to the admissibility of their experts’ opinions in their
        responses to the Daubert motions, filed contemporaneously with this reply brief.
                                                   5
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 1   separate litigation. None of these courts advanced a requirement for a quantitative
 2   model. That is because neither the Sherman Act nor Rule 23 prescribes a specific
 3   method of proving classwide injury or damages. In Comcast Corp. v. Behrend, 569
 4   U.S. 27, 35 (2013), the Supreme Court held that a damages model must be
 5   consistent with the theory of antitrust liability. Plaintiffs’ models satisfy that test:
 6   the three but-for worlds isolate the impact of pooling and exclusivity (as well as the
 7   combination of the two) on the price of out-of-market football games available only
 8   to Sunday Ticket subscribers. Each model independently satisfies the predominance
 9   requirement with respect to antitrust injury and damages.
10         The NFL’s attacks on Dr. Zona’s models also go to the weight rather than the
11   admissibility of his opinions. Dr. Zona advances quantitative econometric models,
12   the type that the NFL erroneously insists class certification requires. Dr. Zona has
13   addressed each of the issues raised by the NFL, even where the criticisms are
14   inaccurate or based on basic mischaracterizations of his work. 9
15         The critiques of Plaintiffs’ primary damages model—the college football
16   “but-for” world—are similarly misplaced. Plaintiffs have indeed shown that this
17   model is “the most likely to occur,” Opp. at 14.
18

19                                          And the yardstick approach employed by Dr.
20   Rascher is a well-accepted method of estimating antitrust damages. See, e.g.,
21   Tawfilis v. Allergan, Inc., 2017 WL 3084275, at *6 (C.D. Cal. June 26, 2017)
22   (certifying class where damages were calculated on the basis of the yardstick
23   method); In re Rubber Chemicals Antitrust Litig., 232 F.R.D. 346, 354 (N.D. Cal.
24

25   9
       Zona Reply Declaration ¶¶ 12-30. The NFL also makes an erroneous comparison
     between Dr. Zona’s models and the model excluded in Laumann v. NHL, 117 F.
26
     Supp. 3d 299 (S.D.N.Y. 2015). As detailed in the opposition to the motion to
27   exclude Dr. Zona, the Laumann model used a different econometric approach,
28
     involved a different market structure, and utilized far less data than Dr. Zona here.
     10

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 1   2005) (same). The NFL has no basis to characterize Dr. Rascher’s methods as
 2   “based solely on documentary evidence and economic theory,” Opp. at 7, 14.
 3   Instead, he calculates the “but-for” price for Sunday Ticket via a benchmark
 4   comparison to college football telecasts, a product market that is substantially
 5   similar to NFL telecasts but lacks the restraints of the NFL distribution model.11
 6   The Ninth Circuit’s lengthy discussion of the increased output of televised college
 7   football following the lifting of the restraints invalidated by Board of Regents (and
 8   its reliance on that case) demonstrates the appropriateness of Dr. Rascher’s
 9   comparison. In re NFL Sunday Ticket, 933 F.3d at 1146-47, 1154.
10           B.    Common Evidence Will Prove Classwide Injury
11           Each of Plaintiffs’ three damages models marshals common evidence to
12   prove that the NFL’s conduct injured every class member by inflating the price of
13   Sunday Ticket. Even under the NFL’s main authority, common evidence can show
14   that “all class members suffered some injury” due to the conspiracy. Rail Freight I,
15   725 F.3d at 252 (emphasis in original). The NFL’s entire argument begins from the
16   false legal premise that there is no “antitrust injury” if Plaintiffs would have paid
17   more in aggregate in the but-for world. Opp. at 19. To the contrary, courts in and
18   outside this Circuit have repeatedly held that a single overcharge is sufficient for
19   antitrust injury—which the NFL does not seriously dispute occurred here—even if
20   the single overpayment is allegedly offset by a lower price paid in a different
21   transaction. In re Glumetza Antitrust Litig., 336 F.R.D. 468, 481 (N.D. Cal. 2020)
22   (“‘antitrust injury occurs the moment the purchaser incurs an overcharge, whether
23   or not that injury is later offset.’”); Tawfilis, 2017 WL 3084275, at *12 (“how a
24   direct purchaser establishes the fact of damage should not be conflated with
25   possible offsets (i.e., potential secondary effects that could theoretically result in a
26   purchaser recouping the overcharge loss). Potential offsets, if they have any legal
27   relevance, would affect the amount of damages, not the fact of damage.”); In re
28   11
          Rascher Report ¶¶ 242-245; Rascher Reply Decl. ¶¶ 106-109.
                                                7
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 1   Nexium Antitrust Litig., 777 F.3d 9, 27 (1st Cir. 2015) (“[D]efendants incorrectly
 2   assume that if a class member offsets an overcharge through later savings
 3   attributable to the same or related transaction, there is no injury.”).
 4         The NFL is also wrong on the facts. The only injury for which Plaintiffs seek
 5   redress is the overcharge for Sunday Ticket and Plaintiffs’ experts’ models show
 6   that the price for that package would have been lower for every class member
 7   absent the challenged restraints. Because the NFL cannot dispute this, it sidesteps
 8   the question of overcharge by pointing to hypothetical individuals who the NFL
 9   erroneously claims would be “worse off” in Plaintiffs’ but-for worlds. But the
10   NFL’s concept of “worse off” is unmoored from the injury asserted. None of the
11   NFL’s imagined scenarios demonstrates that any class member would pay more for
12   the product they actually purchased, Cf. In re Rail Freight Fuel Surcharge
13   Antitrust Litig., 934 F.3d 619, 623 (D.C. Cir. 2019) (Rail Freight II) (rejecting
14   model which showed that 12.7% of class members suffered negative overcharges).
15         Most of the NFL’s hypotheticals are irrelevant. Every member of the
16   proposed classes purchased not only a satellite subscription from DirecTV, but also
17   an additional “premium” product, Sunday Ticket. Consumers who “cut the cord”
18   and DirecTV subscribers who cancelled Sunday Ticket before paying first are
19   excluded by definition because the classes include only purchasers of Sunday
20   Ticket. The hypothetical cost of “watching their local team on free television”
21   during a season in which they did not subscribe is irrelevant. See Opp. at 15.
22   Similarly, the cost of a DirecTV subscription without Sunday Ticket cannot be
23   considered an additional cost because every class member incurred that cost to be
24   able to watch Sunday Ticket.12 None of the NFL’s hypotheticals establish that any
25
     12
        For similar reasons, the potential increase in costs of other MVPDs is irrelevant
26
     to whether DirecTV subscribers were injured by the conspiracy. The NFL also fails
27   to explain how the loss of the exclusive rights to Sunday Ticket would weaken
28
     DirecTV to a point where a class member would be “driven to a more expensive
     cable provider,” Opp. at 16.
                                                 8
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 1   class members would have paid more for Sunday Ticket in the but-for world. Any
 2   potential harm to DirecTV as a result of consumers switching is likewise irrelevant.
 3         The NFL’s other scenarios rely on mischaracterizations of Dr. Rascher’s
 4   opinions. He predicts that the amount of games broadcast over the air would
 5   increase in each but-for world. Dr. Rascher testified, and reiterates in his rebuttal
 6   report, that he expects games to continue being shown on broadcast television in
 7   local markets. 13 No record evidence suggests that any NFL team would limit
 8   distribution of its games by selling its rights only to a premium cable channel or to
 9   a regional sports network, especially within its local television market. Moreover,
10   the class members—who are the only focus at this stage—were already paying for
11   television service by virtue of being DirecTV subscribers.
12         The NFL fixates on Dr. Rascher’s reference to FS2 and CBSSN as evidence
13   that some class members would have to purchase those channels to watch their
14   favorite team. Yet the NFL fails to mention that he cited those channels only to
15   illustrate the possibility of broadcasting ten NFL games simultaneously,14 or that he
16   predicts that games would appear on the most distributed channels because even
17   low-rated NFL games are “premium products.”15 The NFL also claims that Dr.
18   Rascher “offered no real explanation why” an RSN would not likely secure the
19   rights to an NFL team’s games, Opp. at 16. Yet he explained that NFL games are
20   national products (as are the more popular college games16) and teams have
21   incentives to secure the broadest output for their games. 17 NFL Clubs would, of
22   course, be expected to maximize their exposure to attract fans and increase revenue.
23   There is therefore no reason to expect that blackouts of NFL games would increase
24   13
        See Finn Decl. Ex. 5 (Rascher Depo. 191:14-194:9); Rascher Reply Decl. ¶ 169.
25   14
        Rascher Report ¶ 250.
     15
        See Finn Decl. Ex. 5 (Rascher Depo. 182:11-19, 185:10-19).
26   16
        As Dr. Rascher reiterates in his rebuttal report, only high-profile college games
27   are apt comparisons to NFL games. For example, the only Notre Dame games
28
     shown on Peacock were against obscure opponents. Rascher Reply Decl. ¶ 109.
     17
        See Finn Decl. Ex. 5 (Rascher Depo. 211:7-212:20).
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 1   in any of the “but-for” worlds, see Opp. at 16.18
 2         Lastly, none of the supposed “gains” from the NFL’s unlawful conduct offset
 3   the injury of the overcharge. Dr. Rascher specifically testified that promotions and
 4   discounts on Sunday Ticket would continue in a competitive market. 19 The NFL’s
 5   only rejoinder to that evidence is the fact that Dr. Rascher did not cite examples of
 6   discounts offered by other leagues during his deposition.20 Moreover, any such
 7   discounts are addressed by Dr. Rascher’s model because the overcharge is based on
 8   what class members actually paid for Sunday Ticket. While it is irrelevant to the
 9   question of antitrust injury, no class member derived a net economic benefit from
10   the challenged conduct because, among other reasons, none of the alleged “gains”
11   resulted in any class member paying less for Sunday Ticket games. None of those
12   alleged gains show that some class members were “unharmed” by the restraints.
13   Opp. at 17. Each of them applies to the entire class or not at all.
14         In sum, common evidence establishes that all class members were
15   overcharged for the product they purchased. Unlike the model rejected in Rail
16   Freight II, which did not distinguish injured from uninjured class members,
17   Plaintiffs’ models establish injury to each class member. 934 F.3d at 624-25.
18   “[D]etermining whether any given individual was injured,” therefore, does not turn
19   “on an assessment of the individual facts concerning that person.” In re Asacol
20   Antitrust Litig., 907 F.3d 42, 55 (1st Cir. 2018) (reversing class certification
21   because approximately 10% of class was uninjured because they “would have
22   continued to purchase a brand drug … even if a cheaper, generic version had been
23
     18
        The NFL also lacks any basis to suggest that a customer would have to purchase
24
     multiple out-of-market packages at a price higher than Sunday Ticket in the non-
25   pooling but-for world, id. As Dr. Rascher made clear in deposition, the basic
     premise of that model is every team selling its rights to DirecTV. See Finn Decl.
26
     Ex. 5 (Rascher Depo. 98:19-99:21).
27   19
        See Finn Decl. Ex. 5 (Rascher Depo. 131:12-132:6) (citing example of HBO).
28
     20
        In fact, T-Mobile offers MLB.TV for free to all of its subscribers every year. See
     https://www.t-mobile.com/mlb.
                                                10
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 1   available” but could not be separately identified). No such complexity exists here.
 2         C.     Plaintiffs’ Damages Models Accord with Their Theory of Liability
 3         The NFL presents two critiques of Plaintiffs’ methods of proving classwide
 4   damages. Neither withstands scrutiny.
 5         The first is wrong as a matter of law—presenting yet another classwide
 6   dispute. The NFL argues that the identified damages are “not the result of the
 7   wrong” because one aspect of its conduct—the pooling of team rights to over-the-
 8   air game broadcasts—is immunized by the Sports Broadcasting Act. See Opp. at
 9   20. Yet the SBA cannot immunize the NFL’s conduct with respect to Sunday
10   Ticket because it “does not exempt league contracts with cable or satellite
11   television services.” In re NFL Sunday Ticket, 933 F.3d at 1147. Moreover, it has
12   no bearing on Plaintiffs’ models because Plaintiffs need only prove that damages
13   stemmed from anti-competitive conduct. The principal case cited by the NFL states
14   that the inquiry turns on the nature of the conduct, not its legality. See Rebel Oil Co.
15   v. Atl. Richfield Co., 51 F.3d 1421, 1433 (9th Cir. 1995) (“To show antitrust injury,
16   a plaintiff must prove that his loss flows from an anticompetitive aspect or effect of
17   the defendant’s behavior, since it is inimical to the antitrust laws to award damages
18   for losses stemming from acts that do not hurt competition.” (cleaned up)).
19   Common evidence demonstrates that pooling restrains competition. It matters not if
20   that conduct is partially covered by a legal exemption, especially when that
21   exemption does not apply to these claims—as the Ninth Circuit recognized here.
22         The NFL’s second argument replicates the claim that individual complexities
23   prevent classwide proof of injury and fails for the same reasons. Plaintiffs’ models
24   calculate damages by applying a uniform reduction to the standard Sunday Ticket
25   prices that class members paid. The NFL criticizes this method as inaccurate. But
26   that criticism relies on the same “host of complexities” that supposedly show that
27   certain categories of class members were unharmed. Opp at 21. As detailed above,
28   these considerations are extraneous to Plaintiffs’ damages—the overcharge to

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 1   Sunday Ticket. A market analysis can calculate that figure “without any excessive
 2   difficulty.” Cf. Bowerman v. Field Asset Servs., Inc. 39 F.4th 652, 662 (9th Cir.
 3   2022) (vacating certification because there was no method for calculating damages
 4   “other than the class members’ individualized testimony” about hours worked and
 5   expenses incurred). Here, uniform discounts can be applied to actual prices paid.
 6   III.   A Class Action Is the Superior Method of Adjudicating This Dispute
 7          The NFL does not explain its argument that class certification will present
 8   administrative challenges (other than repackaging the claim that individual issues of
 9   injury and damages predominate). Instead, it relies on Plaintiffs’ supposed failure to
10   explain why this Court can manage the proposed class action. The answer is simple:
11   the class-action device presents no manageability problems because Plaintiffs can
12   establish both liability and damages with common evidence. See Hamilton v. Wal-
13   Mart Stores, Inc., 39 F.4th 575, 586 (9th Cir. 2022) (noting that “manageability”
14   depends on whether individualized issues predominate over common issues).
15          The manageability of this action is borne out by a comparison with the two
16   cases cited by the NFL. In Asacol, the district court’s plan of proving liability
17   required each class member to submit an affidavit attesting that they would have
18   purchased a generic drug over defendants’ drug if given a choice. 907 F.3d at 51-
19   52. Such individualized inquiry was necessary because approximately 10% of class
20   members would not have switched, and thus suffered no injury, and there was no
21   other way to tell the class members apart. Id. The Ninth Circuit similarly concluded
22   that a class action was unmanageable because it would “involve adjudicating issues
23   specific to each class member’s claim,” namely the comparison of the pre-accident
24   value of each class member’s car to the price offered by the defendant insurer. Lara
25   v. First Nat’l Ins. Co. of Am., 25 F.4th 1134, 1139-40 (9th Cir. 2022). There will be
26   no such difficulties in determining injury or damages here because this is an
27   overcharge case about a single product with standardized prices. The actual prices
28   paid by every class member are known. And a single formula can determine the

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 1   difference between the actual and but-for prices.
 2   IV.   The NFL’s Rule 23(a) Arguments Fail for the Same Reason as Their
           Predominance Arguments
 3
           The NFL’s Rule 23(a) arguments are derivative of their predominance
 4
     arguments. The opposition concedes as much. See Opp. at 22.
 5
           The only additional argument—that there are conflicts among and between
 6
     the classes—is wrong. The NFL speculates that “easier access” to out-of-market
 7
     games might harm commercial class members. The NFL cites no evidence to
 8
     support the claim that a consumer of a product would want the price to be higher so
 9
     as to restrict access to other consumers. Defendants argue that there is a conflict
10
     among class members because some class members would be “harmed” in some
11
     but-for worlds. In an overcharge case such as this, there is no conflict among class
12
     members because each had an interest in paying less for the product that they
13
     purchased. Contrast this situation with the principal case cited by the NFL, which
14
     declined to certify a class challenging blockage of caller ID signals because the
15
     “efficiency gains and accompanying cost savings” from caller ID varied between
16
     the “sole proprietorships” and “large interstate catalogue companies” who formed
17
     part of the class. Bell Atl. Corp. v. AT&T Corp., 339 F.3d 294, 307 (5th Cir. 2003).
18
     In this case, the NFL provides no evidence of an actual conflict. And this Circuit
19
     does not “favor denial of class certification on the basis of speculative conflicts.” In
20
     re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 942 (9th Cir. 2015) (cleaned
21
     up); see also Laumann v. NHL, 105 F. Supp. 3d 384, 400 (S.D.N.Y. 2015)
22
     (rejecting argument that some class members “would prefer to be injured”).
23
     V.    Certification of the Commercial Class Is Proper
24
           Certification of the commercial class is proper for the same reasons as the
25
     residential class. Because demand for Sunday Ticket in commercial establishments
26
     derives from consumer demand for the games in that package, Plaintiffs’ market
27
     analysis encompasses both. The opposition overstates differences between the two.
28

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 1         First, members of both classes suffered the same injury of overcharge. That
 2   some commercial establishments may have purchased Sunday Ticket for different
 3   purposes than some residential subscribers—namely to show more games than one
 4   residential consumer may watch—has no bearing on that question. Nor are the
 5   consequential benefits that commercial class members supposedly gain from the
 6   reduced output of out-of-market games. Lost profits are irrelevant as the damage is
 7   the overcharge. On that issue, the NFL exaggerates the testimony that Gael Pub
 8   attracted customers by showing Sunday Ticket games, Opp. at 24. That testimony
 9   does not prove that patrons of commercial establishments would watch football at
10   home if given the opportunity. No evidence in the record suggests that the broader
11   distribution of college football reduced the profits of sports bars, or that commercial
12   establishments have trouble attracting customers to watch local games. The NFL’s
13   entire argument rests on the unsupported and unrealistic assumption that some (but
14   not all) class members would prefer to pay more for a product that they purchase.
15         Second, the difference in the pricing of commercial Sunday Ticket does not
16   preclude classwide calculation of injury or damages. Although individual
17   negotiations were more prevalent among the commercial class than the residential
18   class, the pricing for both derived from standard list prices. It is well-established
19   that individual negotiation of pricing does not defeat certification. See, e.g., Olean,
20   31 F.4th at 677–78. Even in markets with “diversity in products, marketing, and
21   prices,” common evidence can establish that the “conspiracy artificially inflated the
22   baseline for price negotiations,” “for all buyers.” Id. (cleaned up). The prevalence
23   of individual negotiations does not defeat the utility of the standard reduction factor
24   in Plaintiffs’ models. Moreover, Plaintiffs’ models account for any discounts
25   because they estimate damages based on actual prices paid. Any similar discounts
26   in the “but-for” world would start from a lower standard price.
27   VI.   Certification of an Injunctive Relief Class Is Proper
28         Neither the impending expiration of the Sunday Ticket deal nor the inclusion

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 1   of past purchasers in the class precludes certification of a Rule 23(b)(2) class.
 2         The NFL’s claims of mootness are misplaced and premature. Mootness is a
 3   merits, not a class certification, issue. And this controversy remains live because the
 4   restraints continue. Cf. Smith v. Univ. of Wash. Law Sch., 233 F.3d 1188 (case
 5   mooted by passage of law that provided class members with the relief they sought,
 6   the prohibition of racial discrimination in admissions); Thorn v. Jefferson-Pilot Life
 7   Ins. Co., 445 F.3d 311, 331 (4th Cir. 2006) (case mooted because defendant
 8   insurance company was no longer collecting premiums on challenged policies). To
 9   moot this case, the NFL must terminate the anti-competitive conduct that gives rise
10   to it. That has not happened.
11

12

13         Second, injunctive relief will benefit all class members, whether or not they
14   currently subscribe to Sunday Ticket. No rule bars past purchasers of a product
15   from seeking injunctive relief. The relevant question is whether such class members
16   are likely to be harmed by the NFL’s behavior in the future absent such relief. The
17   answer is yes because each class member is by definition a consumer of out-of-
18   market football games. As noted in Plaintiffs’ motion, each participant in that
19   market was injured by the overcharge and from the reduction in choice. The NFL
20   provides no response to that argument.
21                                      CONCLUSION
22         For the foregoing reasons, Plaintiffs’ proposed classes should be certified.
23

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